UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

IN THE MATTER OF THE SEARCH OF)
INFORMATION ASSOCIATED WITH __ )

badtrucking@icloud.com THAT IS STORED ) 3:20-MJ- 21AD
AT PREMISES CONTROLLED BY )

APPLE, INC. )

SEALING ORDER
Upon motion of the United States of America and for good cause shown,
IT IS ORDERED that the Application for a Search Warrant, the Affidavit in support,
Search Warrant, the Motion to Seal, and the Sealing Order filed in the above-styled case shall be
sealed and maintained in the custody of the Clerk of the Court for one hundred-eighty (180) days
from the date of the Order.
Enter this 15th day of May, 2020.

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United States Magistrate Judge

 

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